       Case 3:21-cv-02560-LB Document 156 Filed 09/13/23 Page 1 of 2


     Sarah Shapero (Bar No. 281748)
1    100 Pine Street, Ste. 530
     San Francisco, CA 94111
2    Telephone: (415) 293-7995
     Facsimile: (415) 358-4116
3
     Attorneys for Plaintiffs,
4
     TIMOTHY S. BOSTWICK,
5    and MICHELE L. NESSIER,

6
7

8
                           UNITED STATES DISTRICT COURT
9
10                      NORTHERN DISTRICT OF CALIFORNIA

11

12   TIMOTHY S. BOSTWICK, an individual; Case No.: 3:21-CV-02560-LB
     and MICHELE L. NESSIER, individual;
13
                                         Assigned for All Purposes to
14         Plaintiffs,                   Hon. Laurel Beeler
                                         Courtroom B
15
            v.                                   [PROPOSED] ORDER
16

17
18   SETERUS, INC., a business entity; US
19   BANK, N.A., a business entity; SN
     Servicing CORP., a business entity, and
20   DOES 1 through 10, inclusive
21

22      Defendants.

23

24
25

26

27
28
                                                1
                                          [PROPOSED] ORDER
       Case 3:21-cv-02560-LB Document 156 Filed 09/13/23 Page 2 of 2



1            Based on the Joint Stipulation of the parties, and good cause appearing therefor, IT
2    IS ORDERED that the Pretrial Deadlines are extended as follows:

3

4     Case Event                 Current Deadline                   Proposed Deadline
      Pretrial filings and       9/14/23                            9/21/23
5     requirements reflected at
6     ECF 63 at 45, C 1 through
      5 and 7 through 9
7     Filings at ECF 63, D 1     9/21/23                            9/28/23
      through 4
8
9    IT IS SO ORDERED.
10
11

12
13

14
15

16   Date:

17                                                      United States District Court Judge
18

19
20

21

22
23

24
25

26

27
28
                                                   2
                                             [PROPOSED] ORDER
